           Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA
                                     WASHINGTON D.C.

UNITED STATES OF AMERICA,
            Plaintiff,
vs.                                                    CASE NO.: 1:2021-CR-00292-RCL-1
CHRISTOPHER J. WORRELL,
            Defendant.
_____________________________________/

          DEFENDANT’s RESPONSE TO PRETRIAL SERVICES REPORT OF JULY 28,
                                   2022

         The Defendant Christopher Worrell, by and through his counsel, tenders this response to

the Pretrial Services Report dated July 28, 2022, and states as follows:

   I.          The Submitted Violations

         Worrell is alleged to have violated condition (t), which states:

         (t)      Permit pretrial Services to visit him at home or elsewhere at any time and to
                  confiscate contraband in plain view.
                  Not access the internet, including social media and email, except for use with his
                  legal defense team or as authorized by Pretrial Services.
                  Not use encrypted messaging applications unless approved by pretrial services
                  Not have any contact with any other persons or organizations involved in the
                  January 6 Capitol events after returning to the District where he will be
                  supervised, except with their legal defense teams or as otherwise authorized by
                  pretrial services
                  Defendant shall refrain from corresponding directly or indirectly with any news
                  media organization (for example, Newsmax, Washington Post, Brietbart) without
                  prior approval of the Court.
                  Defendant shall refrain from directly or indirectly publicly commenting on his
                  case without prior approval of the Court.

   II.         Mr. Worrell’s Statement

         A. April 27 news article / 6/15 follow up

               On April 26, 2022, Mr. Worrell attended a meeting of his Collier County

Commission. The Commission chambers are located at the Collier County Government
           Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 2 of 7




Complex, in Naples, Florida. While at the meeting that morning, Mr. Worrell was one of three

speakers to address the Commission. Mr. Worrell did not notify any party in advance of his

desires to address the County Commission (signifying no intent to involve media or any other

“interested” parties). Mr. Worrell’s speech was recorded (as required by the

“Sunshine” records for the State of Florida), and unbeknown1 to Worrell, media entities were

present at the Commission meeting.

The link is the entire speech is below:

https://news.yahoo.com/christopher-worrell-april-26-2022-114727105.html

The video starts at the 2:50 minute mark and concludes at the 6:36 mark, for a total of just under

4 minutes.

         In the video, Mr. Worrell can be seen discussing the civil rights violations2 thrust upon

him by the heinous actions of the DC Jail and its personnel. Mr. Worrell, at no point, addresses

the indictment which has been filed against him, and simply discusses the civil rights violations

to which he was subject while an inmate in the District of Columbia Jail.

         On May 6, 2022, Mr. Worrell was at the Collier County Government Center from 9:30

AM to 11:30 A.M. to speak to State of Florida Representative Lauren Melo. Worrell is

permitted freedom of movement within the Middle District of Florida. Additionally, Worrell is

on home detention with the exception of 7:00 A.M. to 7:00 P.M. This is not a violation of the

conditions ordered by this Honorable Court.

         B. No contact with any J 6

             The undersigned is not Mr. Worrell’s only counsel. On July 21, 2022, Mr. Worrell

1
  Unbeknown as no media entity demonstrated anything to signify there presence and that they represented a
media outlet. Additionally, this Court will not hear a single piece of evidence that Worrell sought out or spoke or
attempted to speak to media.
2
  To date, despite several attempts, Worrell has struggled with obtaining counsel for the DC Jails Civil Rights
Violations, and has only been able to receive some assistance from Christopher Hedges, Esquire.
           Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 3 of 7




met with licensed Florida Attorney Chris Hedges (Florida Bar 1033467). The meeting occurred

at 14400 49th Street North, Clearwater, Florida 33758. The meeting occurred at said location for

convenience of Counsel and due to the fact Mr. Worrell’s medical condition did not permit the

possibility of another meeting for quite some time3.

         At the meeting, Mr. Worrell was not wearing Proud Boy clothing nor “Proud Boy” styled

clothing. Mr. Worrell is not a member of the Proud Boys (nor any other organization), and does

not wear “Proud Boy” clothing or similar. The article of clothing in question was a t-shirt. On

the front of the shirt stated, “POW JAN 6, 2021; You are not forgotten.” On the back stated,

“November 3, 2020 was the real insurrection, January 6, 2021 was a protest; Free the boys.”

         Detective William Mauro states during the event, Mr. Worrell “communicated” with

Mr. Brett. Mr. Brett appeared at a public event without the knowledge of Mr. Worrell. There

was no premeditation that Worrell intended to meet Brett, nor any reason to believe Worrell and

Brett had any prior associations or knowledge of each other4. Brett appears to be from

Tampa Bay, while Worrell is from Naples, Florida. A distance of at least three hours travel.

Worrell would not be aware of Brett nor Brett’s associations.

         The contact alleged is fleeting at best. The parties acknowledged each other via standard


3
  On September 15, 2022, Mr. Worrell is scheduled for oral surgery. Said oral surgery is medically necessary as not
performing the procedure could lead to complete deterioration of the teeth as well as dangerous infections. The
surgery has become medically necessary as a result of prior complications, but more so after the lack of care in the
DC Jail which exasperated and accelerated this condition required such aggressive surgical repair and continued
care. Said surgery will require the removal of all his lower teeth, the opening of his gums, and then the attempted
bone grafting. If the bone grafting “takes,” Mr. Worrell will than hope to receive a new set of teeth. Mr. Worrell
will be unable to aid his counsel(s) for a minimum of 60 days and as long as several months. This lower mandible
bone graft became necessary by the poor care and malnutrition of the DC Jail. In essence, this poor care and
malnutrition accelerated the need to have this procedure, as did the DC Jails lack of proper care for Worrell’s Stage
3 cancer.
4
  There appears to be an attempt to indicate Brett is/was a Proud Boy and that is the alleged “connection.”
Newsweek alleges there were 72 chapters of Proud Boys nationwide. It would be absurd to believe that Worrell
“knows” them all (or even any individually), and additionally absurd as Worrell is not a member, and no longer has
any associations or connections to the same.
           Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 4 of 7




greeting, in what was a permitted location in a corner of the Pinellas County Government Center

Parking lot. Conveniently, and with what seems to be the modus operandi of Government

investigations at secure facilities, there is no video or photographic evidence available for

presentation to the Court. Despite high level active surveillance (due to the location being a

courthouse and jail), and despite the fact law enforcement conducted active

surveillance, there is no video or photographic evidence to suggest anything other than Worrell’s

deminimis contact with Brett.

         C. Use of the computer

         Defendant Worrell, made this submission in prior Docket entry. But for purposes of this

Response, re-states as follows:

         The Defendant was working with his third-party custodian for purposes of completion

and submission of his weekly schedule.5 The previously submitted schedule was denied, and

Worrell was re-drafting and preparing the same. This completion and re-submission was done

while Worrell was on the phone simultaneously with Pre-trial services Officer Tad Parks. All

submissions were done with Worrell’s third-party custodian present and with her supervision.

         More specifically, on the morning of 12/23/21, Priller became aware of the new order

setting conditions of release. Priller immediately forwarded the Order to Pretrial Services

Officer Parks, knowing Priller had just sent Worrell’s new schedule (due by noon the same day)

and due to being concerned about not being compliant with the new conditions.

Worrell then immediately called Parks with questions pertaining to his submitted schedule at

which time Parks advised Worrell his schedule was denied. During his conversation with Parks,

Priller/Worrell was actively changing the schedule to comply with the new order.


5
  We concur that the Order does not allow internet access, including social media and email, except for use with his
legal defense team or as authorized by Pretrial Services. Worrell was not “online,” or using the internet
          Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 5 of 7




Priller/worrell also emailed Parks asking if last week’s previously approved schedule needed to

be modified as they wished to attend a Christmas dinner until 9:30 p.m. Parks advised that the

schedule needed to comply as of December 22, 2021 (the date of new Order).

        As Worrell was – with the presence of his third-party custodian – preparing a new,

updated schedule via Microsoft office, this Court should find no violation, or that the violation

was de minimis.

        The third-party custodian has already placed passwords as well as fingerprint only access

to the computer (which has been previously shown to Parks). Worrell has no access to any

computer without the third-party custodian approval/fingerprint. Additionally, Worrell

was utilizing Microsoft Office – more specifically, Excel6 – to prepare his new, updated weekly

schedule. Respectfully, this Court has imposed conditions, Worrell understands those

conditions, and there are no other conditions which could be imposed which would minimize

or avoid the perceived risk of violation.

        D. TRISH PRILLER AS THIRD PARTY CUSTODIAN

        The parties are aware that the Court has tremendous latitutde – generally speaking – in

imposing conditions on convicted defendants released on probation or parole. Courts can impose

reasonable conditions in pretrial release.

        In US v. Collins (11-CR-471)(N.D. Cal. March 16, 2012) several defendants were

indicted for interfering with PayPal computers (via a distributed-denial-of-service attack), as

retaliation for PayPal's blocking of service to Wikileaks. The court upheld a pretrial release


condition barring the defendants from using Internet Relay Chat (IRC), because the defendants


6
 The Defendant was utilizing the equivalent of excel, a sub-program within office, to create a schedule as for the
upcoming week; Worrell did not have access to the preformulated provided document from pretrial services, and
admittedly, cannot – without permission – travel to obtain the same from probation.
         Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 6 of 7




had used IRC to coordinate their attacks:

       While any limitation on free speech must be imposed cautiously, and each defendant
       retains the presumption of innocence during the pretrial period, the IRC restriction in this
       case furthers a compelling government interest in protecting the public from further
       crimes coordinated through a means specifically addressed by the grand jury in the
       language of the indictment. The condition operates in a content-neutral fashion. The
       condition does not restrict political or any other discourse by any other means, even by
       use of other internet services such as email, blogging services such as Tumblr, chat other
       than IRC, or social networks such as Facebook or Google+. All of this suggests to the
       court that a restriction on IRC use, while permitting substantial internet use for purposes
       that include political discourse, strikes a reasonable balance between the legitimate and
       yet competing interests of the parties….

The court also notes that the condition does not impose any burden greater than associational and

other First Amendment-impacted restrictions routinely imposed by courts as a condition of

pretrial release. See, e.g., United States v. Spilotro, 786 F.2dd 808, 815-816 (8th Circ. 1986).

But the court set aside the Twitter use condition:

       The indictment makes no mention of Twitter whatsoever…. In the absence of any
       indictment charge, any evidence, or even any specific proffer of such illicit activity
       [using] Twitter, the court is not persuaded that the restriction advances any legitimate
       interest in protecting the public's safety or prevent any defendant from fleeing. Under
       these circumstances, any illicit use of Twitter by any defendant may be adequately
       addressed by the monitoring approved elsewhere in this order.

(See also U.S. ex rel. Means v. Solem (D.N.D. 1977), which struck down a much broader,

content-based speech restriction.)

       When the undersigned submits the above authority, Trish Priller is not a defendant, and

not subject to pre-trial release conditions, with the exception of complying with this Courts

Orders as she has sworn to do and of which she has fully and faithfully complied.

       What is clear is the is an opposing viewpoint will not be permitted. Ms. Priller is entitled

to her position without compromising what she has sworn to the Court she would do as Worrell’s

third party custodian. The removal of Priller as Worrell’s third party custodian would gravely

undermine counsel’s ability to prepare with Worrell, and there is no other possible person who
         Case 1:21-cr-00292-RCL Document 153 Filed 08/12/22 Page 7 of 7




could partake in that role. This attempt to remove Ms. Priller as well as this attempt to chill

Priller’s opinions and speech should not be permitted.

                                         CONCLUSION
       Based on the foregoing reasons, Mr. Worrell respectfully requests this Honorable Court
receive this explanation and take no action.

                                                      ALEX R. STAVROU, ESQ.
                                                      ALEX R. STAVROU, ESQUIRE
                                                      Alex R. Stavrou, P.A.
                                                      Physical address:
                                                      4908 Busch Blvd, Suite 204
                                                      Tampa, Florida 33617
                                                      Mailing:
                                                      13046 Racetrack Road, #333
                                                      Tampa, Florida 33626
                                                      Phone: 813-251-1289x1
                                                      Fax: 813-489-2528
                                                      Florida Bar No. 0108390
                                                      Alex@alexstavrou.com

                                      Certificate of Service

      I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to
Modify Pretrial release conditions was sent via ECM filing to the United States Attorney Office
(AUSA Will Dreher), and to the Clerk of District Court, on this 11th day of August, 2022.

                                                      ALEX R. STAVROU, ESQ.
                                                      ALEX R. STAVROU, ESQUIRE
                                                      Alex R. Stavrou, P.A.
                                                      4908 Busch Blvd, Suite 204
                                                      Tampa, Florida 33617
                                                      Phone: 813-251-1289x1
                                                      Fax: 813-489-2528
                                                      Florida Bar No. 0108390
                                                      Alex@alexstavrou.com
